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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )                         4:10CR3031
                              )
              Plaintiff,      )
                              )
    vs.                       )
                              )                         ORDER
WILSON ANTONIO GARCIA-PANAMA, )
                              )
              Defendant.      )


      IT IS ORDERED that:


      (1)    Treating the defendant’s letter as a motion (filing 290), the motion is denied.


      (2)    The Clerk of Court shall provide a copy of this order and the defendant’s letter
to counsel for the government, to counsel for the defendant, and to the defendant at
defendant’s last known address.


      Dated June 28, 2012.

                                          BY THE COURT:

                                          Richard G. Kopf
                                          Senior United States District Judge
